  [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
            United States Court of Appeals
                For the First Circuit

No. 98-2064

        LEONARD PETRICCA AND LAWRENCE PETRICCA,

                Plaintiffs, Appellants,

                           v.

               JAMES E. COPPOLA, ET AL.,

                 Defendants, Appellees.

      APPEAL FROM THE UNITED STATES DISTRICT COURT

           FOR THE DISTRICT OF MASSACHUSETTS

    [Hon. Nathaniel M. Gorton, U.S. District Judge]

                         Before

               Selya, Boudin and Lynch,
                   Circuit Judges.

Leonard Petricca and Lawrence Petricca on brief pro se.
Joyce Frank, Katharine I. Goree and Kopelman and Paige, P.C.
on Motion for Summary Disposition for appellees Dennis Comee and
City of Gardner.

June 28, 1999

Per Curiam.  We have carefully reviewed the record on appeal
as well as the appellants' brief and the memorandum of law
submitted by appellees Dennis Comee and the City of Gardner.  We
affirm essentially for the reasons stated in the district court's
memorandum and order, dated May 27, 1998.  Nothing in appellants'
proffer suggests that any amendment would state a viable claim
pursuant to 42 U.S.C.  1983.
The district court's order of dismissal is affirmed.
The motion for reconsideration of our order of February 16,
1999 is denied.
Treating appellants' "formal complaint" as a motion for
sanctions, it is denied.
